Case 1:19-cr-00059-LO Document 61 Filed 09/23/19 Page 1 of 1 PagelD#

AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the

United States of America
Plaintiff
v.

Daniel Everette Hale
Defendant

To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and J appear in this case as couns

Proposed Amicus Curiae The Reporters Committee for Freedom of the Press

LAN

Date: 09/23/2019

APPEARANCE OF COUNSEL

Case No. 1:19-cr-59

Cc Attorney’s signature

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